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JUDGE PHII jp MART Filed Ss: SO (OG

INS cZ Clerk, U. $. District Court
IN THE UNITED STATES DISTRICT COURT iy 7) ' Texas
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FOR THE WESTERN DISTRICT OF TEXAS

«A L PASO DIVISION Deputy
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ERNESTO CASAS, au
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Plaintiff, ae
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Vv. a ms - 3
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CITY OFELPASO, wi

 

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Defendant.
PLAINTIFF’S ORIGINAL COMPLAINT

Plaintiff Ernesto Casas (hereinafter “Mr. Casas”) complains of the City of El Paso, Texas

(hereinafter “the City”), and for cause shows the Court the following:
Parties, Jurisdiction, and Venue

1. Mr. Casas is a citizen of Mexico, lawfully admitted into the United States for
permanent residence, age 44, and a “qualified individual with a disability,” within the meaning
of Title II, Section 201 of the Americans with Disabilities Act (hereinafter “ADA”), 42 U.S.C. §
12131(2), and the Rehabilitation Act of 1973, hereinafter “the Rehab Act”), 29 U.S.C. § 705(20).
He is also an individual with a physical and mental impairment which makes him unable,
without the assistance of another individual, to use public transportation services, within the
meaning of 42 U.S.C. § 12143(c)(1)(A)().

2. The City is a municipal corporation, duly organized and existing under the laws of

the State of Texas, and a “public entity” within the meaning of Title II, Section 201 of the ADA,

42 U.S.C. § 12131(1)(A). The City “operates” a “designated public transportation” entity which
operates on a “fixed route system,” as those terms are defined in Title II, Section 221 of the

ADA, 42 U.S.C. § 12141(2)-(4). The City also attempts to provide “paratransit and other special

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transportation services” to disabled persons, in compliance with Title II, § 223(a) of the ADA, 42
U.S.C. § 12143(a). The City operates its designated public transportation, fixed route system,
and paratransit services (locally known as “The Lift”) through an entity known as “Sun Metro.”

3. The City’s hereinafter actions, inactions, and failure to comply with the ADA and
the Rehab Act all occurred in El Paso County, Texas, making venue proper in this Division and
Court, under 28 U.S.C. § 1391(b).

4. This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and
1343(a)(3) and (4).

Statement of Facts

5. Mr. Casas suffers from post-traumatic stress and major depression disorders as a
result of a physical assault on his person in 1997. His musculo-skeletal injuries from that
incident never completely healed. Because of his mental and physical disabilities, Mr. Casas is
significantly limited in major life activities which are central to the daily lives of most people,
including (without limitation) caring for himself, working, interacting with other people, and
using public transportation. He also has a record of disabling impairments and is regarded as
disabled by the City, which, for some years, has provided him a disability pass enabling him to
tide free on Sun Metro buses. Mr. Casas’ bus card is a “PCA” card, which supposedly enables
both him and a “personal care assistant” to ride free.

6. The City and Sun Metro have a statutory duty to provide disabled persons
comparable transportation services to those enjoyed by the general public, through paratransit
“and other special transportation services,” including free transportation for a personal care
assistant. ADA § 223(a) and (b)(1)(A)(i) and (B), 42 U.S.C. § 12143(a) and (b)(1)(A)() and (B).

The implementing regulations mention personal care assistants only in connection with
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paratransit service. 49 C.F.R. § 37.123(f)(1). However, the City’s paratransit services do not
comply with applicable regulations about response time, 49 C.F.R. § 37.131(b), pickup times, Id.
(b)(2), advance scheduling, Id. (b)(4), fares, Id. (c), waiting list for access, Id. (f)(2), untimely
pickups, Id. (f)(3)(i)(A), and excessive trip length, Id. (f\(3)G)(C). Because of the non-compliant
nature of its paratransit service, the City provides disabled persons, such as Mr. Casas, PCA
cards which can be used on fixed routes, as a “special transportation service,” within the
meaning of the ADA sections cited above in this paragraph.

7. As often as possible, Mr. Casas takes one of his two older sons with him to be his
personal care assistant. However, beginning about November 27, 2003, various drivers for Sun
Metro refused to honor the “PCA” designation and required Mr. Casas to pay for his sons’ fares.
This occurred about ten times over the next seven and a half months. On all of those occasions,
Mr. Casas paid his sons’ fares without protest.

8. On or about July 15, 2004, Mr. Casas protested when a Sun Metro driver refused
to let his son ride free. An argument ensued and the driver called a security guard, who
threatened to handcuff Mr. Casas, frightening his son. Mr. Casas asked the driver and the
security guard, “Please call Sun Metro,” but they refused. He got them to let him use a cell
phone to call Sun Metro himself, but the police arrived shortly thereafter and made him terminate
the call.

9, Mr. Casas complained about the foregoing treatment to Sun Metro employee Luis
Lujan, who had issued the PCA card to him. However, on or about January 13, 2005, a series of
similar incidents occurred. On that date, three different bus drivers, on three different routes,

refused to honor the PCA designation on Mr. Casas’ card.
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10. Onor about April 18, 2005, Mr. Casas sought the assistance of the undersigned
attorney in connection with the foregoing incidents. The attorney contacted the City’s in-house
counsel on or about April 26, 2005. Eventually, Assistant City Attorney Guadalupe Cuellar
scheduled an interview for July 14, 2005, with Mr. Casas, his son, and the undersigned attorney.

11. To attend that meeting, it was necessary for Mr. Casas to use Sun Metro service to
travel from his home to City Hall. When he and one of his sons attempted to use the PCA card
for both of them, the Sun Metro driver at first refused in a loud and angry tone of voice. Mr.
Casas quietly disagreed, until the driver finally relented and allowed them to board without
paying. However, the driver’s behavior drew the attention of most (if not all) of the other
passengers, many of whom stared at Mr. Casas and his son, causing both of them discomfort and
embarrassment.

12. The meeting did take place as scheduled on July 14, 2005, and led to an
investigation by Sun Metro between July 21 and August 4 of 2005. On the latter date, Ms.
Cuellar informed Mr. Casas and his attorney that the problem had been corrected: “All bus
operators have been issued a memo concerning the PCA policy. The entire fleet also received
text messaging reiterating the PCA policy. Supervisors in the northeast [where most of the
incidents had occurred] were also directed to remind their bus drivers of the PCA policy.”

13. | Notwithstanding the apparent resolution, another incident occurred on October
14, 2005. A Sun Metro driver refused to honor the PCA authorization and said he did not know
what “PCA” stood for. Mr. Casas and his son tried to explain, and the driver responded with
open skepticism. Mr. Casas even tried to show the driver the letter from the City Attorney’s
office, but the driver refused to read it. By this time, the other passengers were all watching the

argument. Mr. Casas reached in his pocket to see if he had the money to pay his son’s fare, but

 
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the driver changed his mind at the last minute and told them to go and sit down. Once again, Mr.
Casas and his son felt uncomfortable and embarrassed, so much so that they had to leave the bus
several blocks before their scheduled stop and complete their journey on foot.

14. On or about October 20, 2005, the undersigned attorney notified the City Mayor
of possible claims under the ADA and state law based on the foregoing incidents. The Mayor
referred the matter to the City Attorney, where an assistant promised to investigate.

15. Also on October 20, 2005, Mr. Casas and one of his sons once again experienced
problems on a Sun Metro bus. When Mr. Casas showed the driver the PCA card, the driver
looked confused and said, “What?” Mr. Casas replied, “He’s my PCA.” The driver responded,
“T don’t know what that means.” An argument ensued, during which all of the bus passengers
were inconvenienced and delayed. Finally, the driver allowed Mr. Casas and his son to board
without either of them paying, but other bus patrons stared at them throughout their journey.

16. Onor about December 1, 2005, Mr. Casas needed to use Sun Metro transportation
for a medical appointment. With a friend, he boarded a Sun Metro bus and showed the PCA
card. The driver was both skeptical and angry about the card, but motioned for the two men to
sit down. Because the driver appeared upset, Mr. Casas asked him whether he wanted them to
leave the bus. The driver raised his voice and said in an angry tone, “Either go and sit down or
get off the bus.” Once again, the other passengers were paying attention to the entire incident,
and Mr. Casas and his friend overheard one of them talking disparagingly about their failure to
pay.

17. On January 25, 2006, the City Attorney responded to Mr. Casas’ pending written
complaint by citing the written instructions transmitted to Sun Metro employees more than six

months earlier. The City Attorney also included the following statement in the written response:
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“I do not believe that your client has experienced any similar events in the recent past. However,
please let me know if I am mistaken.” That statement was disingenuous at best, false at worst, in
light of Mr. Casas’ prior specific complaints about his treatment on Sun Metro buses.
Cause of Action

18. The City has intentionally excluded Mr. Casas from participation in and denied
him the benefits of its services, programs, and activities, and has subjected him to discrimination.
Furthermore, the mistreatment of Mr. Casas on Sun Metro buses constitutes retaliation for his
exercise of his ADA-protected right of reasonable access to public transportation. At no time has
Mr. Casas engaged in any conduct to justify the City’s discriminatory and retaliatory conduct
against him.

19. Mr. Casas is likely to continue to suffer the irreparable harm of inconvenience and
indignity if the City is not enjoined from its refusal to honor his PCA card.

20. Because of his repeated and unjustified humiliation on Sun Metro buses, Mr.
Casas has experienced, and will in reasonable probability continue to experience, pain, suffering,
inconvenience, mental anguish, and loss of enjoyment of life. Each of the foregoing incidents,
including the three occurring on one date, constitutes a separate and discrete ADA violation.

Request for Preliminary Injunction

21. Mr. Casas will suffer irreparable harm if the City is not enjoined during the
pendency of this lawsuit from instigating ugly confrontations with Mr. Casas and his personal
care assistants on Sun Metro buses. As a mentally disabled individual, Mr. Casas experiences
harm that is not precisely measurable and cannot be undone by an award of monetary damages.
The City’s apparent unwillingness to impose — or even threaten — disciplinary measures leaves

Mr. Casas at the mercy of drivers who will persist in humiliating him whenever they wish. He
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has complained repeatedly to the City without effect. The latest written response denies that
complaints have been made.

22. There is a substantial likelihood that Mr. Casas will prevail on the merits. His
allegations are supported by multiple witnesses.

23. The harm faced by Mr. Casas outweighs the harm that would be sustained by the
City if the preliminary injunction were granted. The preliminary injunction would actually help
the City by stopping the repeated ADA violations, each of them separately compensable. The
City Manager, City Attorney, and management of Sun Metro have nothing to gain by hurting Mr.
Casas. They are merely indifferent to whether their drivers do so. A preliminary injunction
would overcome that indifference.

24. — Issuance of a preliminary injunction would not adversely affect public interest and
public policy. On the contrary, public policy expressed in the ADA favors the injunction.

25. Mr. Casas asks the Court to set his application for preliminary injunction for
hearing at the earliest possible time and, after hearing the request, issue a preliminary injunction
against the City.

Request for Permanent Injunction

26. Mr. Casas asks the Court to include application for injunctive relief in the full trial

on all issues in this complaint and, after the trial, to issue a permanent injunction against the City.
Conclusion and Prayer

WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays for a
preliminary injunction, followed by a permanent injunction, compensatory damages, attorney
fees, expert witness fees, his other costs of court, and such other and further relief as to which he

may show himself justly entitled.

 
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RESPECTULLY SUBMITTED this 744 day of March, 2006.

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Texas Bar No. 14148200
Attorney for Plaintiff

DEMAND FOR JURY TRIAL

Plaintiff respectfully demands trial by jury herein.

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MIKE MILLIGAN

 
